Case: 1:02-cv-06425 Document #: 1 Filed: 09/10/02 Page 1 of 10 PagelD #:1

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IN THE UNITED STATES DISTRICT COURT AIOE be BET

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FOR THE NORTHERN DISTRICT OF ILLINOIS
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JASON EAGAN, AN 6 cep
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Plaintiff, cae) vu WE ES é
Trial Requested
Vv.
VILLAGE OF WESTMONT, WESTMONT Mm
CHIEF OF POLICE RANDELL E. STICHA, in mo.
his individual capacity, MEMBERS OF THE mo a &
BOARD OF FIRE AND POLICE COMMISSIONERS, hal TSS
ROBERT T. MACIEJEWSKI, SR., ROBERT J. bet ey Sas
KOVANDA, and ROBERT SCOTT in their individual D OC KE TED 5.
capacities, wd =
Defendants. SEP 11 2002 Cx a

COMPLAINT
NOW COMES Plaintiff, JASON EAGAN, by and through his attorneys, LISA KANE &

ASSOCIATES, P.C., and complaining of Defendants, Village of Westmont, et al., states as

follows:

Preliminary Statement
1. This is an action seeking redress for the violation of rights guaranteed to Plaintiff
by 42 U.S.C. § 1983 to redress the deprivation under color of statute, ordinance, regulations,
custom or usage of rights secured to Plaintiff by the Fourteenth Amendment to the Constitution
of the United States, namely the right to equal protection of the laws. Plaintiff seeks mandatory
declaratory relief and damages to redress the unlawful practices as engaged in by Defendants.
Jurisdictional Statement

2. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343(a)(3) and (4)

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and 28 U.S.C. § 1331 to secure protection of and to redress deprivation of rights secured by 42
U.S.C. § 1983. Declaratory relief is sought under 28 U.S.C. §§ 2201 and 2202.
Venue
3. Venue is proper under 28 U.S.C. § 1391(b)(1) and (2).
Parties

4. Plaintiff, JASON EAGAN, is a citizen of the United States who resides in Illinois
and has at all relevant times served as a probationary police officer for the Village of Westmont.

5. Defendant, Village of Westmont, is a unit of local government and a person
within the meaning of 42 U.S.C. § 1983. Village of Westmont Members of the Board of Fire and
Police Commissioners, Robert T. Maciejeweski, Sr., Robert J. Kovanda, and Robert Scott are the
highest ranking final policy-making officials of the Village of Westmont and/or are vested with
such authority by delegation in the area of establishing policies, terms, and conditions of
employment for the Village of Westmont Police Department and its personnel.

6. Defendant, Village of Westmont Chief of Police, Randall E. Sticha, named in his
official and individual capacities is the highest ranking final policy-making official of the Village
of Westmont and/or is vested with such authority by delegation in the area of establishing the
terms and conditions of employment for the officers under his command, and his acts and
omissions were numerous, pervasive, and continuous enough such that these acts and omissions
amounted to Village of Westmont policy.

7. The decision-making and final policy-making authority of Defendant, Chief of
Police, Randall Sticha, was invoked to deprive Plaintiff of his Constitutional rights secured under

the Fourteenth Amendment to the United States Constitution through 42 U.S.C. § 1983 in so far
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as Chief Sticha exercised his inherent and delegated authority as a final policy-maker to influence
the Board of Fire and Police Commissioners’ decision to terminate Plaintiff's employment with
the Village of Westmont Police Department to such an extent that Chief Sticha was the effective
cause of Plaintiffs termination.
COUNT I
FOURTEENTH AMENDMENT
DENIAL OF EQUAL PROTECTION OF THE LAW
42 U.S.C. § 1983

All § 1983 claims alleged hereinafter pertain to Defendants, Randall E. Sticha, Robert T.
Maciejewski, Sr., Robert J. Kovanda, and Robert Scott, named in their individual capacities. As
Defendants named in their individual capacities, Plaintiff seeks actual damages, compensatory
damages, consequential damages, exemplary, and punitive damages and any other relief the court
deems appropriate under 42 U.S.C. § 1983. As to the Village of Westmont, Plaintiff seeks
prospective injunctive relief under 42 U.S.C. § 1983.

8. Paragraphs one (1) through seven (7) are incorporated by reference as
though fully set out herein.

9. The acts and omissions alleged herein were committed with the knowledge,
acquiescence, and active participation of Chief Sticha and the individually named members of
the Board of Fire and Police Commissioners.

10. Chief Sticha and the individually named members of the Board of Fire and Police
Commissioners intentionally subjected Plaintiff to less favorable terms and conditions of his

employment than similarly situated probationary police officers under Chief Sticha’s command,
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and Defendants can assert no rational basis for the difference in treatment.

11. Chief Sticha was motivated by a spiteful and abandoned discriminatory effort to
punish and cause career detriment to Plaintiff by subjecting him to unwarranted discipline,
including, but not limited to, causing Plaintiff to be fired from the Westmont Police Department.

12. On June 18, 2002, after taking Plaintiffs service weapon, Sergeant Carlson
summoned Plaintiff to Chief Sticha’s office where Detective Gunther and Sergeant Carlson
joined Chief Sticha and Plaintiff to witness Chief Sticha fire Plaintiff.

13. During the June 18, 2002 meeting in Chief Sticha’s office, Chief Sticha presented
Plaintiff with a letter from the Board of Fire and Police Commissioners advising Plaintiff that his
employment with the Westmont Police Department had been terminated effective immediately
for the purported reason that Plaintiff had not met the performance standards required of a Police
Officer with the Westmont Police Department.

14, Upon reviewing the letter of termination, Plaintiff expressed to Chief Sticha that
he did not understand the purported reason for which he had been terminated and further
expressed that he had not previously been advised that he was not meeting the requirements of a
probationary police officer.

15. Chief Sticha explained to Plaintiff that he had received letters from other
Sergeants and Field Training Officers indicating that Plaintiff was not meeting requirements and
had not corrected his job performance after receiving advice from members of the Police
Department.

16. The only example offered to Plaintiff, during the June 18, 2002 termination

meeting, of his failure to meet the performance standards of a police officer with the Westmont
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Police Department was an incident which took place some fourteen months prior to his
termination in which Plaintiff acknowledged that his tongue in cheek remark about detectives
was not appropriate for a probationary police officer to make; Detective Gunther in turn
acknowledged that Plaintiff had immediately recognized his mistake at the time of the incident
and apologized for making a comment intended in good humor, but nevertheless inappropriate
for an officer in his position. Detective Gunther further acknowledged during the June 18, 2002
termination meeting that he had accepted Plaintiff's apology at the time of the incident.

17. According to the Westmont Police Department General Orders, supervisors
should not wait for an evaluation to discuss or correct negative or substandard performance with
an employee, and in addition, probationary employees, once they have completed the Field
Training and Evaluation Program must be evaluated each five week period by the Watch
Commander during the entire probationary period.

18. In contravention of the aforementioned General Orders, Plaintiff was not
evaluated each five week period by the Watch Commander nor was he approached by
supervisors to alert him to any of the purported performance deficiencies upon which his
termination was allegedly based.

19. Throughout his Field Training and Evaluation Program, Plaintiff's Daily
Observation Reports consistently reflect Plaintiff's achievement of acceptable levels of
performance, and they further reflect his continual progress in correcting behavior highlighted as
an area requiring improvement.

20. Plaintiff was consistently commended for strong performance in a number of

areas, including, but not limited to, making D.U.I. arrests.
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21. The acts or omissions alleged herein constitute reckless or callous indifference to
Plaintiff's federally protected rights entitling him to seek punitive damages against Defendants
named in their individual capacities.

22. Plaintiff continues to suffer the effects of Chief Sticha’s course of spiteful and
abandoned conduct which he has perpetrated against Plaintiff to his detriment, and without any
rational or legitimate basis, while similarly situated probationary police officers whose
performance and conduct did not surpass Plaintiffs were not subjected to Chief Sticha’s
irrational spite; these similarly situated officers continue to serve on the Westmont Police
Department.

23. Asadirect and proximate result of the alleged willful and reckless acts and
omissions of Defendants, Plaintiff was deprived of federally protected rights in violation of 42
U.S.C. § 1983, and has suffered injury, including, but not limited to, pain and suffering, and lost
wages and benefits.

Prayer for Relief

WHEREFORE, Plaintiff respectfully requests that this Court:

A. Declare the conduct of Defendants to be in violation of the rights guaranteed to
Plaintiff under appropriate federal law;

B. Grant a permanent injunction restraining Defendants, its officers, successors,
assigns, and all persons in active concert or participation with them, from engaging in any
employment practice which unlawfully violates equal protection rights;

C, Order Defendants to make whole Plaintiff by providing the affirmative relief

necessary to eradicate the effects of Defendants’ unlawful practices, including, but not limited to,
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any and all appropriate equitable and prospective injunctive relief;

D. Grant Plaintiff any consequential, compensatory, punitive and any other damages
that the Court may deem appropriate as against Defendants in their individual capacities;

E, Grant Plaintiff his attorney’s fees, costs, and disbursements; and

F. Grant Plaintiff such further relief as the Court deems necessary and proper in the

public interest.

Jury Trial Request

24. Plaintiff requests a jury trial on all questions of fact raised by the Complaint.

Respectfully submitted,
Jason Eagan, Plaintiff

isa Kame, Attorney for Plaintiff

Lisa Kane and Associates, P.C.
Attorney at Law

120 South LaSalle Street

Suite 1426

Chicago, Ilfinois 60603

(312) 606-0383

Attorney No. 06203093
Case: 1:02-cv-06425 Document #: 1 Filed: 09/10/02 Page 8 of 10 PagelD #:8

 

Verifleation

1, Jason Ragan, dectare under penalty of perjury that the foregoing is true and correct.
Executed on this 9" day of September, 2002.

 

 

 
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“UNITED STATES DISTRICT COUR” ~
NORTHERN DISTRICT OF ILLINOIS

In the Matter of

JASON EAGAN

VS.

VILLAGE OF WESTMONT et al.

DOCKETED
SEP 1 1 2002 Case ‘po

   

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

JASON EAGAN

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